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                                                        U.S. Department of Justice

                                                        Matthew M. Graves
                                                        Acting United States Attorney

                                                        District of Columbia


                                                        Judiciary Center
                                                        555 Fourth St., N.W.
                                                        Washington, D.C. 20530


                                                      January 10, 2022

Via Email
Brent Mayr
Mayr Law, P.C.
Houston Office:
5300 Memorial Drive, Suite 750, Houston, TX 77007
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       Re:      United States v. Christopher Grider
                Case No. 1:21-cr-00022-CKK

Dear Counsel:

       Enclosed as additional discovery in this case, via filesharing, are the following materials:

             1. SENSITIVE: Interviews of Officers by Statuary Hall Connector Outside
                House Chamber (7 files: 302s for officers MM, SV, VB; transcript, audio,
                and exhibits for officer NE)
             2. Extracted items from Defendant’s Facebook SW (8 files)
             3. Defendant’s Apple iCloud Search Warrant Application
             4. Evidence from other Capitol investigations:
                   a. SENSITIVE: Witness video of D-17 (C0080)
                   b. SENSITIVE: D-14 video of exit from Capitol (IMG_0774)
                   c. D-14 Open-source interview from 1/8/2021 with footage of
                       defendant after shooting

       This material is subject to the terms of the Protective Order issued in this case. Please
adhere to sensitivity markings.

       The discovery is unencrypted. Please contact me if you have any issues accessing the
information, and to confer regarding pretrial discovery as provided in Fed. R. Crim. P. 16.1.
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        I will forward additional discovery as it becomes available. In the meantime, please let
me know if there are any categories of information that you believe are particularly relevant to
your client.

       If you have any questions, please feel free to contact me.

                                                     Sincerely,


                                                     _______________________
                                                     Candice C. Wong
                                                     Assistant United States Attorney
                                                     202-252-7849
                                                     Candice.wong@usdoj.gov




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